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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MARYLAND

NHELTA KAYREN, ET AL


         Plaintiffs

V.                                               CIVIL ACTION NO.
                                                 8:09-cv-02898-DKC

FAIR COLLECTIONS &
OUTSOURCING, INC.


         Defendant.                              FEBRUARY 16, 2010

                        STIPULATION FOR DISMISSAL

The Plaintiffs Nhelta Kayren and Donna Whitaker through their attorney Bernard

T. Kennedy and the Defendant Fair Collecitons & Outsourcing, Inc. through its

attorney Robert M. Gittins stipulate that the claims in the above-entitled action

shall be dismissed with prejudice and without costs, subject to approval of the

Court.



                                                 THE PLAINTIFFS

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                                    THE DEFENDANT



                                      BY /S/ Robert S. Gittins
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                                    Law Office of William J. Hickey
                                    33 Wood Lane
                                    Rockville, MD 20850




                             CERTIFICATION

I hereby certify on today’s date a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated
on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.




BY/S/Bernard T. Kennedy
